Case 1:20-cv-00774-RGA Document 15 Filed 07/01/20 Page 1 of 5 PageID #: 1100




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


 In re

 Boy Scouts of America and Delaware BSA,
 LLC,
                                           Civil Action No. 20-cv-00774 (RGA)
                     Debtors.

 Century Indemnity Company,
                                           On appeal from the U.S. Bankruptcy Court
                     Appellant,            for the District of Delaware

 v.                                        Bankruptcy Case No. 20-10343 (LSS)
                                           Bankruptcy BAP No. 20-14
 Boy Scouts of America,

                     Appellee

 Delaware BSA, LLC

                     Appellee


                  MOTION OF BOY SCOUTS OF AMERICA AND
                   DELAWARE BSA, LLC TO STAY BRIEFING
                PENDING RESOLUTION OF MOTION TO DISMISS
Case 1:20-cv-00774-RGA Document 15 Filed 07/01/20 Page 2 of 5 PageID #: 1101




       Debtors-Appellees Boy Scouts of America and Delaware BSA, LLC (collectively,

“BSA”) respectfully request that the Court stay briefing in the appeal by Century Indemnity

Company (“Century”) from the bankruptcy court’s Order Pursuant to 11 U.S.C. § 502(b)(9),

Bankruptcy Rules 2002 and 3003(c)(3) and Local Rules 2002-1(e), 3001-1 and 3003-1, (I)

Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and Manner and

Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date and Other

Important Information to Abuse Survivors, and (IV) Approving Confidentiality Procedures for

Abuse Survivors (the “Bar Date Order”). Bankr. Dkt. 695. In support of its motion, BSA states

as follows:

       1.      On June 8, 2020, Century—one of BSA’s insurers—filed a notice of appeal from

the bankruptcy court’s Bar Date Order. The Bar Date Order was a non-final interlocutory order.

See In re Energy Future Holdings Corp., 949 F.3d 806, 817 (3d Cir. 2020) (holding that bar date

orders entered by bankruptcy court “were not final and appealable”).

       2.      On June 22, 2020, BSA moved to dismiss Century’s appeal. Dist. Ct. Dkt. 4. As

set forth in BSA’s motion and supporting memorandum (Dist. Ct. Dkt. 5), Century lacks

standing to appeal the Bar Date Order because Century is not “directly and adversely affected

pecuniarily” by the non-final order. In re Combustion Eng’g, 391 F.3d 190, 214 (3d Cir. 2004),

as amended (Feb. 23, 2005) (internal citations omitted); see also id. at 215 (explaining that this

“more stringent appellate standing requirement” in bankruptcy cases “rests on the ‘particularly

acute’ need to limit appeals in bankruptcy proceedings”); In re Old HB, Inc., 525 B.R. 218, 225

(S.D.N.Y. 2015) (holding that debtor’s insurer, like Century, lacked standing to appeal a bar date

order). In addition, because the Bar Date Order is interlocutory, Century has no right of appeal,

but was required to seek this Court’s leave to appeal under 28 U.S.C. § 158(a)(3) and Federal
Case 1:20-cv-00774-RGA Document 15 Filed 07/01/20 Page 3 of 5 PageID #: 1102




Rule of Bankruptcy Procedure 8004(a)(2). Yet Century failed to file the required motion, and has

not shown—and cannot show—that any “exceptional circumstances” justify immediate review.

In Re Magic Rests., Inc., 202 B.R. 24, 26 (D. Del. 1996).

       3.      On June 26, this Court entered an order withdrawing Century’s appeal from

mandatory mediation, Dist. Ct. Dkt. 10, and set a briefing schedule, Dist. Ct. Dkt. 11.

       4.      BSA respectfully requests that briefing on Century’s appeal be stayed while

BSA’s motion to dismiss the appeal is pending. Whether to enter a stay “is a matter left to the

Court’s discretion.” UCB, Inc. v. Hetero USA Inc., 277 F. Supp. 3d 687, 690 (D. Del. 2017). A

stay of briefing is warranted here because, if the appeal is dismissed, briefing will be

unnecessary. Staying briefing until BSA’s motion to dismiss is decided may therefore avoid

unnecessary burden on the Court and the parties, and in particular avoid unnecessary expense to

the Debtors’ estates.

       5.      In addition, even if the appeal were not dismissed, Century would not be harmed

by a stay of briefing. Century chose not to seek a stay of the Bar Date Order pending this appeal.

As detailed in BSA’s memorandum in support of dismissal, because Century did not seek a stay,

the notice requirements in the Bar Date Order will be largely effectuated well before this appeal

can be resolved—whether briefing begins immediately or not. Dist. Ct. Dkt. 5 at 8-9; see also

Dist. Ct. Dkt. 6. In particular, the claim form that Century intends to challenge on appeal has

already been distributed to more than nine million recipients. Dist. Ct. Dkt. 5 at 9. Century’s own

actions thus make clear that a temporary delay in briefing will cause it no harm.

             CERTIFICATION PURSUANT TO D. DEL. LOCAL RULE 7.1.1

       Pursuant to Local Rule 7.1.1, counsel for BSA states that they have made a reasonable

effort to reach agreement with counsel for Century regarding BSA’s relief requested in this


                                                 2
Case 1:20-cv-00774-RGA Document 15 Filed 07/01/20 Page 4 of 5 PageID #: 1103




motion.   Counsel for BSA contacted counsel for Century but did not reach an agreement

regarding the relief requested in this motion.

                                          CONCLUSION

       For the foregoing reasons, briefing should be stayed pending this Court’s decision on

BSA’s motion to dismiss the appeal.



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Case 1:20-cv-00774-RGA Document 15 Filed 07/01/20 Page 5 of 5 PageID #: 1104




 Respectfully submitted this 1st day of July 2020.



                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Eric W. Moats                              ____

                                          Derek C. Abbott (No. 3376)
                                          Andrew R. Remming (No. 5120)
                                          Eric W. Moats (No. 6441)
                                          Paige N. Topper (No. 6470)
                                          1201 North Market Street, 16th Floor
                                          P.O. Box 1347
                                          Wilmington, Delaware 19899-1347
                                          Telephone: (302) 658-9200
                                          Email: dabbott@mnat.com
                                                aremming@mnat.com
                                                emoats@mnat.com
                                                ptopper@mnat.com

                                           – and –

                                          SIDLEY AUSTIN LLP
                                          Jessica C. K. Boelter (pro hac vice pending)
                                          787 Seventh Avenue
                                          New York, New York 10019
                                          Telephone: (212) 839-5300
                                          Email: jboelter@sidley.com

                                           – and –

                                           SIDLEY AUSTIN LLP
                                           Thomas A. Labuda (pro hac vice pending)
                                           Michael C. Andolina (pro hac vice pending)
                                           Matthew E. Linder (pro hac vice pending)
                                           One South Dearborn Street
                                           Chicago, Illinois 60603
                                           Telephone: (312) 853-7000
                                           Email: tlabuda@sidley.com
                                                  mandolina@sidley.com
                                                  mlinder@sidley.com

                                          Counsel for Boy Scouts of America and
                                          Delaware BSA, LLC


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